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                       Exhibit 3
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       UNITED STATES D I S T R I C T C O U R T
       EASTERN DISTRICT O F N E W Y O R K

       COURTNEY LINDE, et al.
                                                 Case No. CV 04 2799 (NG/VVP)
                              Plaintiff,

               -against-

       ARAB BANK, PLC,

                              Defendant.

       PHILIP LITLE, et al.
                                                 Case No. CV 04 5449 ( N G / W P )
                               Plaintiff,

               -against-

        ARAB BANK, PLC,

                               Defendant.

        OB AN A L M O G , et al.
                                                 Case No. CV 04 5564 ( N G / V V P )
                               Plaintiff,

                -against-

        ARAB BANK, PLC,

                               Defendant.

        ROBERT L. COULTER, SR.,
        FOR T H E ESTATE O F JANIS               Case No. CV 05 365 (NG/VVP)
        RUTH COULTER, et al.

                                   Plaintiff,

                -against-

        ARAB BANK, PLC,

                                   Defendant.




                                                                                   JA1945
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      GILA A F R I A T - K U R T Z E R , et al.
                                                                Case No. CV 05 388 ( N G / W P )
                                  Plaintiff,

               -against-

       ARAB BANK, PLC,

                                   Defendant.


            KFSPONSES A N D O B J E C T I O N S OF D E F E N D A N T A R A B B A N K P L C TO
        P L A l S ^ J O I N T M S M F I E D PHASE I R E Q U E S T F O R T H E P R O D U C T I O N O F
                       DOCUMENTS TO DEFENDANT ARAB B A N K PLC


                Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant Arab

       Bank pic ("Arab Bank"), a corporation organized under the laws of Jordan with its head office in

       Amman, Jordan, by its undersigned counsel, hereby submits the following responses and

       objections (the "Response") to Plaintiffs' Joint Modified Phase I Request For T h e Production of

       Documents To Defendant Arab B ank PLC (the "Requests").


                                                          OBJECTIONS

                           1.       Arab Bank objects to the Requests to the extent they seek to have Arab

        Bank disclose documents that are subject to bank secrecy laws of the countries in which Arab

        Bank operates.          Any undertaking to produce responsive documents is subject to Arab Bank's

        obligations to comply with such laws or the parties' need to obtain waivers or exemptions from

        the prohibitions of such laws.

                           2.        Arab Bank objects to the Requests to the extent that they seek the

         production of documents that do not specifically relate to Phase I of discovery, as specified by

         Magistrate Judge Pohorelsky at the Court conference on June 22, 2005.




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                                                                                                   JA1946
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                      3.           Arab Bank objects to each of the Requests as overbroad.           Each Request

       seeks production, by way of example, of "complete transaction records," "all account records

       relating to wire transfers or other deposits f r o m January 1, 2001 to [June 27, 2005]" and "all

       correspondence from the account holder or any other third party."                Such requests impose an

       undue and unreasonable burden upon Arab Bank and seeks the disclosure of information that is

       not relevant to a claim or defense in this litigation.

                      4.           Arab Bank objects to the Requests to the extent that they seek the

       production of documents or information protected by the bank examination privilege which

       applies to Arab B a n k ' s dealings with its bank regulators. Arab Bank further objects to the

       Requests to the extent that they seek the production of documents or information protected by

       various other privileges, including but not limited to, the attorney-client privilege, the attorney

        work product doctrine, and any other legally recognized obligation and/or rule. Arab Bank

        hereby claims such privileges and objects to the production of any documents subject thereto. If

        any privileged document, or privileged information within a document, is                     inadvertently

        produced, Arab Bank does not waive or intend to waive any privilege pertaining to such

        document or information, or to any other documents or information.

                           5.       Arab Bank reserves the right to correct, amend, modify or supplement its

        Response f r o m time to time and at any time in the future, as warranted by the circumstances.

                           6.        These General Objections shall be deemed continuing as to each Request,

        shall be incoiporated in response to each Request whether or not specifically stated in response

        to each Request, and shall not be waived or in any way limited by the following responses.

                                n w . p . C T I O N S TO DEFINITIONS A N D I N S T R U C T I O N S
                           7.        Plaintiffs purport   to incorporate    by   reference the Definitions    and

         Instructions set forth in Plaintiffs' First Request for Production of Documents to Arab Bank PLC,




                                                                                                      JA1947
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       dated February 24, 2005. Arab Bank hereby incorporates its objections to those Definitions and

       Instructions, as set forth in its March 28, 2005 R e s p o n s e s and Objections of Defendant Arab

       Bank PLC to Plaintiffs' First Request for the Production of D o c u m e n t s to Defendant Arab B a n k

       PLC.

               RESPONSES AND OBJECTIONS TO SPECIFIC D O C U M E N T REQUESTS

                      The following Responses and Objections to specific document requests are made

       in addition to, and without waiving, all of the foregoing General Objections and Objections to

       Definitions and Instructions (collectively, the "General Objections'*), which are expressly

       incorporated into the responses and objections to specific document requests set forth below.


       Plaintiffs' Request Number 1: Lebanese Bank Account

       Account Number:          3-810-622473-0330

       Branch:                  Al-Mazra Branch, Beirut
        Relevance'              Beginning with the Linde complaint, plaintiffs have all alleged that
                                through this account "Arab Bank knowingly provides banking services
                                to HAMAS" and that "Arab Bank affirmatively assists in distributing
                                funds to support the terror campaign." Linde Complaint <J 345. The
                                defendant proffered a sworn declaration by its Chief Banking Officer,
                                Shukry Bishara, dated November 11, 2004. Paragraphs 41 -43 state chat
                                the account has allegedly been "dormant for the past three years". Mr,
                                Bishara further stated that: "Upon confirming that this account was at
                                some time available on a website alleged to belong to H A M A S ... the
                                Batik closed this account, froze the balance of its funds and reported it
                                 to the appropriate authorities."

        Scope of Request:        Plaintiffs seek complete transactional records, including the date the
                                 account was opened, any documentation related to the identity of the
                                 account holder(s), including the account opening application, and the
                                 transactional history of the account, including copies of all deposits and
                                 withdrawals, copies of all and wire transfers into or out of the account,
                                 as well as all correspondence the bank has in its possession with, or
                                 from, the account holder(s) or any other correspondence the bank has
                                 received, written or otherwise generated concerning this account,
                                 particularly concerning the closure of the account, the freezing of its




                                                                                                 JA1948
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                                funds and the reporting on it "to the appropriate authorities."

       Response to Request No. 1:

       This request asks for information concerning an account that is not alleged to b e related to a

       specific incident in which any of the more than 2000 plaintiffs claim to have been injured. This

       request therefore contravenes the C o u r t ' s directive that plaintiffs' Phase I requests must be

       linked to the specific incidents: "it is an animating principle of m y thinking a n y w a y that the

       accounts that are going to be looked at are accounts that have some link." See Transcript of

       June 22, 2005 Hearing before Magistrate Judge Pohorelsky at 72; see also Id. at 64-67. Arab

       Bank further objects to this request on the ground that it would require production that would

       subject the Bank or its employees to criminal sanctions under the bank secrecy laws of the

       Lebanon.

       Plaintiffs' Request Number 2: Jordanian Bank Account

       Account Holder:           Hassan Hussien Hassan Houtari

        Account Number:          600/21697-6

        Branch:                  Al-Raseifa Branch - J o r d a n

        Rfclevance:              Mr. Houtari is the father of Said Hassan Houtari who murdered 20
                                 people, mostly teenagers and injured 100 more in a suicide bombing
                                 attack on June 1, 2001 at the Dolphinarium dancc club in Tel Aviv.

        Plaintiffs Killed or     Liana Saakian - murdered (Almog), Jan Blum - murdered (Almog),
        Injured in Attack:       Aleksei Lupalo - murdered (Almog), Marina Berkovsky - murdered
                                 (Almog), Ryisa Nemirovsky - murdered (Almog), Maria Tagiitsev -
                                 murdered (Almog), Uri Shahar - murdered (Almog), Elena Nalimova -
                                 murdered (Almog), Yulia Nalimova - murdered (Almog), Yulia
                                 Sklianik - murdered (Almog), Jenya Dorfman - murdered (Almog),
                                 Mariana Medvedenko - murdered (Almog), Anya Kazachkov -
                                 murdered (Almog), Simona Rudin - murdered (Almog), Irina
                                 Nepomnyashchy - murdered (Almog), Ilia Gutman - murdered (Almog),
                                 Katrin Talker - murdered (Almog), Sergei Panchenko - murdered
                                  (Almog), Lior Sklianik - injured (Almog), Maria Kavosnidova - injured
                                  (Almog), Tamara Fubrickunt - injured (Almog), Margarita Sherman -
                                  injured (Almog), Polina Valis - injured (Almog), Anna Pistunov -




                                                                                                    JA1949
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                               injured (Almog), Ivgeni Moldavski - injured (Almog), O k s a n a Datlov -
                               injured (Almog), T a n y a Weiz - injured (AJmog), Irina Lipkin - injured
                               (Almog), Ziva M e v z o s - injured (Almog), Alexander Plotkin - injured
                               (Almog).

       Scope of Request:       The plaintiffs request confirmation of the name on the account, any
                               information concerning the identity of the account holder(s) including
                               the account opening application, and any and all records relating to wire
                               transfers or other deposits made into the account f r o m January 1, 2001
                               to the date of this letter. The plaintiffs also request all correspondence
                               between the defendant and the account holder or any other third party
                               concerning this account f r o m January 1, 2001 to the date of this letter.

       Response to Request No. 2:

       Arab Bank objects to this request on the ground that it seeks the production of information that

       is not relevant to a claim or defense in this litigation in that it seeks records of any and al!

       transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, certain plaintiffs allege that the

        family of Said Hussien Hassan Houtari was referenced on the Saudi Committee website as

        eligible to receive payments from the Saudi Committee. {See, e.g., Almog Amended Complaint

        at 1228). Subject to these objections, the foregoing General Objections and the bank secrecy

        objection addressed below, Arab Bank will produce, to the extent they exist, documents in its

        possession, custody or control concerning the identity of the account holder, including the

        account opening application, electronic records of wire transfers or other deposits m a d e into the

        account from or at the direction of the Saudi Committee between January 1, 2001 and June 27,

        2005, and correspondence related to such wire transfers or other deposits. Arab Bank further

        objects to this request on the ground that it would require production that would subject the

        Bank or its employees to criminal sanctions under the bank secrecy laws of the Jordan. Arab

        Bank proposes that, after any disputes over the scope of this request are resolved, it work with

        plaintiffs' counsel to make a good faith effort to apply to Jordanian authorities for permission to



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                                                                                                  JA1950
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      produce relevant, responsive documents in a m a n n e r that is consistent with Jordanian law.


      R e q u e s t N u m b e r 3: B a n k Account Located in Palestinian-Controlled T e r r i t o r y

       Account Holder:                Shuail A h m a d Al-Masri

       Account Number:                579796/6

       Branch:                        Jen in Branch

       Relevance:                     Mr. Al-Masri is the father of Iz A!-Din Shuail Al-Masri w h o murdered
                                      15 people, including young children and injured 130 m o r e in a suicide
                                      bombing attack on August 9, 2001 at the Sbarro pizzeria in Jerusalem.

       Plaintiffs Killed or           The victims include Judith Greenbaum, age 31, who was murdered
       Injured in Attack:             (Coulter), Chana Nachenberg (34), who was placed in a c o m a (Coulter),
                                      Howard and Dora Green -injured (Coulter), David Danzig -injured
                                      (Coulter), Clara Ben-Zaken - injured (Linde), Yocheved Shushan -
                                      murdered (Almog), Frieda Mendelsohn - murdered (Almog), Tehilla
                                      Maoz - murdered (Almog), Kerovah Shushan - injured (Almog), O m a
                                      Amit - injured (Almog), Chava Malgrud - injured (Almog), Miryam
                                      Sara Shushan - injured (Almog)

       Scope of Request:               The plaintiffs request confirmation of the name on the account, any
                                       information concerning the identity of the account holder(s) including
                                       the account opening application, and any and all records relating to wire
                                       transfers or other deposits made into the account f r o m January 1, 2001
                                       to the date of this letter. The plaintiffs also request all correspondence
                                       between the defendant and the account holder or any other third party
                                       concerning this account from January 1 , 2 0 0 1 to the date of this letter.

        R e s p o n s e to R e q u e s t No. 3:

        Arab Bank objects to this request on the ground that it seeks the production of information that

        is not relevant to a claim or defense in this litigation in that it seeks records of any and all

        transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, certain plaintiffs allege that the

        Al-Masri family received a payment from the Saudi Committee and a payment from the AL

        Ansar charity. (See, e.g., Coulter Complaint at 149). Subject to these objections, the foregoing

        General Objections and the bank secrecy objection addressed below, Arab Bank will produce,


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       to the extent they exist, documents in its possession, custody or control concerning the identity

       of the account holder, including the account opening application, electronic records of wire

       transfers or other deposits m a d e into the account from or at the direction of the Saudi

       Committee or the Al-Ansar charity between January 1, 2 0 0 1 and June 27, 2005, and

       correspondence related to such wire transfers or other deposits. Arab B a n k further objects to

       this request on the ground that it would require production that would subject the Bank or Us

       employees to criminal sanctions under the bank secrecy laws of the Palestinian Monetary

       Authority ("PMA"). Arab Bank proposes that, after any disputes over the scope of this request

       are resolved, it work with plaintiffs' counsel to make a good faith effort to apply to the P M A for

       permission to produce relevant, responsive documents in a manner that is consistent with P M A

       law.


        Request Number 4-. Bank Account L o c a t e in Palestinian-Controlled Territory

        Account Holder:         Muhammad A h m a d Hussein al-Shouli
        Account Number:         44422S-8, including, but not limited to sub-account 600

        Branch:                 Nablus Branch

        Relevance:              M r al-Shouli is the father of M a h m o u d M u h a m m a d Ahmad Abu
                                Hanoud al-Shouli, one of the most famous and prolific of H A M A S ' s
                                terrorists, credited by the organization for organizing both the
                                Dolphinarium and Sbarro bombings. He was killed by Israeli Secunty
                                Services on November 23, 2001 and remains one of the most revered
                                'martyrs' of H A M A S . His image appears on posters, billboards, and
                                many other forms of 'advertising' produced by H A M A S .




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       Plaintiffs Killed or     Dolphinarium: Liana Saakian - murdered (Almog), Jan B l u m -
       Injured in Attack:       murdered (Almog), Aleksei L u p a l o - murdered (Almog), Marina
                                Berkovsky - murdered (Almog), Ryisa N e m i r o v s k y - murdered
                                (Almog), Maria Taglitsev - murdered (Almog), Uri Shahar - murdered
                                (Almog), Elena Nalimova - murdered (Almog), Yulia N a l i m o v a -
                                murdered (Almog), Yulia Sklianik - murdered (Almog), Jenya Dorfman
                                - murdered (Almog), Mariana M e d v e d e n k o - murdered (Almog), Anya
                                Kazachkov - murdered (Almog), Simona Rudin - murdered (Almog),
                                trina N e p o m n y a s h c h y - murdered (Almog), Ilia G u t m a n - murdered
                                (Almog), Katrin Talker - murdered (Almog), Sergei P a n c h e n k o -
                                murdered (Almog), Lior Sklianik - injured (Almog), Maria
                                Kavosnidova - injured (Almog), Tamara Fubrickunt - injured (Almog),
                                Margarita Sherman - injured (Almog), Polina Valis - injured (Almog),
                                Anna Pistunov - injured (Almog), Ivgeni Moldavskd - injured (Almog),
                                 Oksana Diatlov - injured (Almog), Tanya Weiz - injured (Almog),
                                 Alexander Plotkin - injured (Almog).

                                 S b a r r o Judith Greenbaum - murdered (Coulter), Chana Nachenberg -
                                 placed in a coma (Coulter), Howard and Dora Green -injured (Coulter),
                                 David Danzig -injured (Coulter), Clara Ben-Zaken - injured (Lmde),
                                 Yocheved Shushan - murdered (Almog), Frieda Mendelsohn - murdered
                                 (Almog), Tehilla M a o z - murdered (Almog), Kerovah Shusan - injured
                                 (Almog), O m a Amit - injured (Almog), Chava Malgrud - injured
                                 (Almog), Miryam Sara Shushan - injured (Almog).

        Scope of Request-.       The plaintiffs request confirmation of the n a m e on the account, any
                                 information concerning the identity of the account h o l d e r s ) including
                                 the account opening application, and any and all records relating to wire
                                 transfers or other deposits made into the account from January 1, 2001
                                 to the date of this letter. The plaintiffs also request all correspondence
                                 between the defendant and the account holder or any other third party
                                 concerning this account from January 1, 2001 to the date of this letter.

        Response to R e q u e s t No. 4:

        Arab Bank objects to this request on the grounds that it is overly broad, unduly burdensome,

         and seeks documents that are not relevant to the claims or defenses of any party in that the

         request seeks the production of information concerning an account purported to belong to the

         relative of a person who was not himself an assailant in any of the specific incident in which

         any of the more than 2000 plaintiffs claim to have been injured. Because plaintiffs recognize

         that Mahmoud Muhammad Ahmad Abu Hanoud al-Shouli was not the assailant in any such



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       attack, he necessarily could not have been incendvized to be an assailant in such attacks by any

       promise of any post-mortem payments. M o r e o v e r , the complaints do not allege any such

       payments. Arab Bank further objects to this request on the ground that it would require

       production that would subject the Bank or its employees to criminal sanctions under the P M A

       bank secrecy laws.


        Request Number 5: Bank Account Located in Palestinian-Controlled Territory

        Account Holder:         Wasifa Mabrouk Saleh Idris

        Account Numbers:        9030/627878/7 including, but not limited to sub-accounts 600, 610 and
                                670

        Branch:                 Rammallah (Al-Bireh)

        Relevance:              Mrs. Idris's daughter, W a f a Idris, was the first f e m a l e Palestinian suicide
                                bomber. Ms. Idris blew herself up on January 27, 2002 in downtown
                                Jerusalem.

        Plaintiffs Killed or     Pinhas Tokatly - murdered (Almog), Ludmila Gershikov - injured
        Injured in Attack:       (Almog), Mark I. Sokolow, Rena M . Sokolow, Jamie A. Sokolow,
                                 Lauren M . Sokolow - injured. (Coulter).

        Scope of Request:        The plaintiffs request confirmation of the name on the account, any
                                 information concerning the identity of the account holder(s) including
                                 the account opening application, and any and all records relating to wire
                                 transfers or other deposits made into the account f r o m December I,
                                 2001 to the date of this letter. The plaintiffs also request all
                                 correspondence between the defendant and the account holder or any
                                 other third party concerning this account from December 1, 2001 to the
                                 date of this letter.

        Response to Request No. 5:

        Arab Bank objects to this request on the ground that it seeks the production of information that

        is not relevant to a claim or defense in this litigation in that it seeks records of any and all

        transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, certain plaintiffs allege that the




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       family of Wafa Idris was referenced on the Saudi C o m m i t t e e website as eligible to receive a

       payment from the Saudi Committee. (See, e.g., Almog A m e n d e d Complaint at 1228). Subject

       to these objections, the foregoing General Objections and the bank secrecy objection addressed

       below, Arab Bank will produce, to the extent they exist, documents in its possession, custody or

       control concerning the identity of the account holder, including the account opening application,

       electronic records of wire transfers or other deposits m a d e into the account f r o m or at the

       direction of the Saudi Committee between January I, 2 0 0 1 and June 27, 2005, and

       correspondence related to such wire transfers or other deposits. Arab Bank further objects to

       this request on the ground that it would require production that would subject the Bank or its

       employees to criminal sanctions under the bank secrecy laws of the P M A . Arab Bank proposes

        that, after any disputes over the scope of this request are resolved, it work with plaintiffs'

        counsel to make a good faith effort to apply to the P M A for permission to produce relevant,

        responsive documents in a manner that is consistent with P M A law.


        Request Number 6: Bank Account Located in Palestinian-Controlled Territory

        Account Holder:          Hussien Mohammad Farah Tawil

        Account Number:          626831/5 including but not limited to sub-accounts 670 and 610

        Branch:                  Rammallah (Al-Bireh)

        Relevance:               Mr. Tawil is the father of Dia Tawil who blew up a bus stop in the
                                 French Hill section of Jerusalem on March 27, 2001 injuring 21
                                 civilians.

        Plaintiffs Killed or     Danielle Fine-Cohen - injured (Almog), Shmuel Shfaim - injured
        Injured in Attack:       (Almog)

        Scope of Request:        The plaintiffs request confirmation of the name on the account, any
                                 information concerning the identity of the account holder(s) including
                                 the account opening application, and any and all records relating to wire
                                 transfers or other deposits made into the account from January 1, 2001
                                 to the date of this letter. The plaintiffs also request all correspondence



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                                between the defendant and the account holder or any other third party
                                concerning this account from January 1, 2 0 0 1 to the date of this letter.

        Response to Request No. 6:

        Arab Bank objects to this request on the ground that it seeks the production of information that

        is not relevant to a claim or defense in this litigation in that it seeks records of any and all

        transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, certain plaintiffs allege that the

        family of Dia Tawil received a payment from the Saudi Committee. (See, e.g., Almog           Amended

        Complaint at 1209). Subject to these objections, the foregoing General Objections and the bank

        secrecy objection addressed below, Arab Bank will produce, to the extent they exist, documents

        in its possession, custody or control concerning the identity of the account holder, including the

        account opening application, electronic records of wire transfers or other deposits made into the

        account from or at the direction of the Saudi Committee between January I , 2001 and June 27,

        2005, and correspondence related to such wire transfers or other deposits. Arab Bank further

         objects to this request on the ground that it would require production that would subject the

         Bank or its employees to criminal sanctions under the bank secrecy laws of the PMA. Arab

         Bank proposes that, after any disputes over the scope of this request are resolved, it work with

         plaintiffs' counsel to make a good faith effort to apply to the PMA for permission to produce

         relevant, responsive documents in a manner that is consistent with P M A law.


         Request Number 7: Bank Account Located in Palestinian-Controlled Territory

         Account Holder:          Muhyi id-Din Kamil Salah Hubayshah

         Account Number:          444136/2 including but not limited to sub-accounts 500, 510, and 570

         Branch:                  Nablus
         Relevance:               Mr. Al-Din Kamil's son, Maher Muhyi al-Din Kamil, was a suicide



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                                                                                                   JA1956
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                                bomber responsible f o r the m u r d e r of IS commuters on the N o . 16 bus
                                in Haifa on December 2, 2001.

       Plaintiffs Killed or     Michael Zarayski - murdered (Almog), Rassime Safiullin - murdered
       Injured in Attack:       (Almog), Riki Hadad - murdered (Almog), Inna Frenkel - murdered
                                (Almog), Yitzak Ringal - murdered (Almog), Ronen Kachlon -
                                murdered (Almog), M a r a F i s h m a n - murdered (Almog), Zizilia K u z m i n
                                - murdered (Almog), Tatiana Borovik - murdered (Almog), Shimon
                                Kabesa - injured (Almog), Ronen Avrahami - injured (Almog).

        Scope of Request:       The plaintiffs request confirmation of the n a m e on the account, any
                                information concerning the identity of the account holder(s) including
                                the account opening application, and any and all records relating to wire
                                transfers or other deposits m a d e into the account f r o m June 1, 2001 to
                                the date of this letter. T h e plaintiffs also request all correspondence
                                between the defendant and the account holder or any other third party
                                concerning this account f r o m June 1 , 2 0 0 1 to the date of this letter.

        Response to Request No. 7;

        Arab Bank objects to this request on the ground that it seeks the production of information that

        is not relevant to a claim or defense in this litigation in that it seeks records of any and all

        transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, certain plaintiffs allege that the

        family of Maher Muhyi al-Din Kamil was referenced on the Saudi Committee website as

        eligible to receive a payment from the Saudi Committee. (See, e.g.. Almog        Amended

        Complaint at 1228). Subject to these objections, the foregoing General Objections and the bank

        secrecy objection addressed below, Arab Bank will produce, to the extent they exist, documents

        in its possession, custody or control concerning the identity of the account holder, including the

        account opening application, electronic records of wire transfers or other deposits made into the

         account from or at the direction of the Saudi Committee between January 1, 2001 and June 27,

         2005, and correspondence related to such wire transfers or other deposits. Arab Bank further

         objects to this request on the ground that it would require production that would subject the




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       Bank or its employees to criminal sanctions under the bank secrecy laws of the P M A . Arab

       Bank proposes that, after any disputes over the scope of this request are resolved, it work with

       plaintiffs' counsel to make a good faith effort to apply to the PMA for permission t o produce

       relevant, responsive documents in a manner that is consistent with P M A law.


       Request Number 8: B a n k Account I ncated in Palestinian-Con trolled Territory

       Account Holder:          M u h a m m a d Jamil Mutlaq Ghanim (a/ka/a Ghanem)

        Account Number:         521586-2

        Branch:                 Tulkarem

        Relevance:              Mr. Ghanim's son, Rami M u h a m m a d Jamil Mulaq Ghanim, blew up the
                                London Cafe in Netanya on March 30, 2003, injuring f o u r people.

        Plaintiffs Killed or    Lidia Samouel - injured (Almog), Joseph Samouel - injured (Almog),
        Injured m Attack:       Shlomo Menashe - injured (Almog), Lili David - injured (Almog).

        Scope of Request:        The plaintiffs request confirmation of the name on the account, any
                                 information concerning the identity of the account holder(s) including
                                 the account opening application, and any and all records relating to wire
                                 transfers or other deposits made into the account f r o m January 1, 2003
                                 to the date of this letter. The plaintiffs also request all correspondence
                                 between the defendant and the account holder or any other third party
                                 concerning this account from January 1, 2003 to the date of this letter.

        Response to Request No. 8:

        Arab Bank objects to this request on the ground that it seeks the production of information that

        is not relevant to a claim or defense in this litigation in that it seeks records of any and all

        transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, plaintiffs d o not make any

        allegations of payments to the family of Rami Muhammad Jamil Mulaq Ghanim, but generally

         allege that various suicide bombers were incentivized to engage in certain attacks by payments

         made by the Saudi Committee, Subject to these objections, the foregoing General Objections




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                                                                                                    JA1958
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       and the bank secrecy objection addressed below, Arab B a n k will produce, to the extent they

       exist, documents in its possession, custody or control concerning the identity of the account

       holder, including the account opening application, electronic records of wire transfers or other

       deposits made into the account from or at the direction of the Saudi Committee between

       January 1,2001 and June 2 7 , 2 0 0 5 , and correspondence related to such wire transfers or other

       deposits. Arab Bank further objects to this request on the ground that it would require

       production that would subject the Bank or its employees to criminal sanctions under the bank

        secrecy laws of the PMA. Arab Bank proposes that, after any disputes over the scope of this

        request are resolved, it work with plaintiffs' counsel to make a good faith effort to apply to the

        P M A for permission to produce relevant, responsive documents in a manner that is consistent

        with P M A law.


        Request Number 9: Bank Account Located in Palestinian-Controlled Territory

        Account Holder:         First Name Unknown (Aliyan)

        Account Number:         519610/8

        Branch:                 Tulkarem
        Relevance'              The son of the account holder, A h m a d O m a r Aliyan, blew himself up in
                                a shopping mail in Netanya on March 4, 2001, killing 3 people and
                                wounding 65 others.

        Plaintiffs Killed or    Bosmat Glam - injured (Almog), Ariel Mahfud - injured (Almog),
        Injured in Attack:      Mazal Alevi - injured (Almog).

        Scone of Request:       The plaintiffs request confirmation of the name on the account, any
                                information concerning the identity of the account holder(s) including
                                the account opening application, and any and all records relating to wire
                                transfers or other deposits made into the account from January 1, 2001
                                to the date of this letter. The plaintiffs also request ail correspondence
                                between the defendant and the account holder or any other third party
                                concerning this account from January 1, 2001 to the date of this letter.

        Response to Request No. 9:



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       Arab Bank objects to this request on the ground that it seeks the production of information that

       is not relevant to a claim or defense in this litigation in that it seeks records of a n y and all

       transactions concerning the identified account, regardless of whether that account activity bears

       any relation to the matters at issue herein. In their complaints, certain plaintiffs allege that the

       family of Ahmad Omar Aliyan was referenced on the Saudi C o m m i t t e e w e b s i t e as having

       received a payment from the Saudi Committee. (See, e.g., Almog          A m e n d e d C o m p l a i n t at

       5237). Subject to these objections, the foregoing General Objections and the bank secrecy

       objection addressed below, Arab Bank will produce, to the extent they exist, d o c u m e n t s in its

       possession, custody or control concerning the identity of the account holder, including the

       account opening application, electronic records of wire transfers or other deposits m a d e into the

       account f r o m or at the direction of the Saudi C o m m i t t e e between January 1, 2001 and June 27,

       2005, and correspondence related to such wire transfers or other deposits. A r a b Bank further

       objects to this request on the ground that it would require production that w o u l d subject the

       Bank or its employees to criminal sanctions under the bank secrecy laws of the P M A . Arab

        Bank proposes that, after any disputes over the scope of this request are resolved, it work with

        plaintiffs' counsel to make a good faith effort to apply to the P M A f o r permission to produce

        relevant, responsive documents in a manner that is consistent with P M A law.


        Request N u m b e r 10: Bnnk Account Located in Palestinian-Con trolled Territory

        Account Holder:          Kamil Sa'id Abdallah al-Zubeidi

        Account N u m b e r :    414648/4 including but not limited to sub-accounts 570 and 500
        Branch:                  Nablus
        Rclevance:               Mr. aLZubeidi's son, Imad Kamil Sa'id al-Zubeidi, blew himself up in
                                 Kfar Saba on April 22, 2001, killing one person and wounding 38
                                 others.



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       Plaintiffs Killed or     Dr. Mario Goidin was murdered (Ahnog), Michael Mi3man was injured
       Injured in Attack:       (Almog).

       Scope of Request:        The plaintiffs request confirmation of the n a m e on the account, any
                                information concerning the identity of the account holder(s) including
                                the account opening application, and any and all records relating to wire
                                transfers or other deposits m a d e into the account from January 1, 2001
                                to the date of this letter. The plaintiffs also request all correspondence
                                between the defendant and the account holder or any other third party
                                concerning this account f r o m January 1, 2001 to the date of this letter.

       Response to Request No. 10:

       Arab Bank objects to this request on the ground that it seeks the production of information that

       is not relevant to a claim or defense in this litigation in that it seeks records of any and all

        transactions concerning the identified account, regardless of whether that account activity bears

        any relation to the matters at issue herein. In their complaints, plaintiffs do not m a k e any

        allegations of payments to the family of 'Imad Kamil Sa'id al-Zubeidi, but generally allege that

        various suicide bombers were incentivized to engage in certain attacks by payments made by

        the Saudi Committee. Subject to these objections, the foregoing General Objections and the

        bank secrecy objection addressed below, Arab Bank will produce, to the extent they exist,

        documents in its possession, custody or control concerning the identity of the account holder,

        including the account opening application, electronic records of wire transfers or other deposits

        made into the account from or at the direction of the Saudi Committee between January I, 2001

        and June 27, 2005, and correspondence related to such wire transfers or other deposits. Arab

        Bank further objects to this request on the ground that it would require production that would

        subjcct the Bank or its employees to criminal sanctions under the bank secrecy laws of the

        P M A . Arab Bank proposes that, after any disputes over the scope of this request are resolved, it

        work with plaintiffs' counsel to make a good faith effort to apply to the P M A for permission to




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       produce relevant, responsive documents in a m a n n e r that is consistent with P M A law.


       Dated; July 7, 2005
                                                              LeBoeuf, L a m b , Greene & M a c R a e L L P
                                                              125 West 55th Street



                                                              ... s^^r^E^
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                                               CERTIFICATE OF SERVICE
                         I hereby certify that I c a u s e d the f o r e g o i n g R e s p o n s e s     and O b j e c t i o n s   of

       Defendant Arab Bank pic to Plaintiffs' Joint M o d i f i e d P h a s e I R e q u e s t f o r the P r o d u c t i o n of

       Documents to D e f e n d a n t A r a b B a n k pic to be served upon the p l a i n t i f f s by c a u s i n g t h e m to b e

       sent, this 7th day of July 2 0 0 5 to:

       BY E L E C T R O N I C D E L I V E R Y :

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      IN LINDE. ETAL.            v. ARAB      RANK. PLC. CV 04-2799 & COULTER.          ETAL.   v. ARAB   BANK,   PLC,
      CV 05-365

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       IN ALMOG. ETAL..  v.
       BANK, PLC. CV 05-388

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                                                                                                             JA1964
